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                                                                                  2023 Aug-31 AM 10:00
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

CARLO RODRIGUEZ,                       )
                                       )
      Plaintiff,                       )
                                       )
v.                                     ) Civil Action No. 7:23-cv-929-ACA
                                       )
MANSA HOSPITALITY, LLC,                )
                                       )
      Defendant.                       )


                ORDER REGARDING COMPLIANCE WITH
               FEDERAL RULE OF CIVIL PROCEDURE 26(f)

      The court reminds the parties of their obligations under Federal Rule of Civil

Procedure 26(f) to confer within thirty days from the first appearance of a

defendant for the purposes of: considering the nature and basis of their claims and

defenses; the possibilities for a prompt settlement or resolution of the case; to make

or arrange for the disclosures required by Federal Rule of Civil Procedure 26(a)(1);

and to develop a proposed discovery plan that indicates the parties’ views and

proposals concerning all of the matters addressed in sub-paragraphs (1) through (4)

of Federal Rule of Civil Procedure 26(f). If the court has entered this order more

than thirty days after the first appearance of a defendant, the parties must confer

within fourteen days of entry of this order.
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      If the parties are unable to agree upon a date, time, or place for such

conference, the court ORDERS the parties to meet at 10:00 a.m. in the chambers

of the undersigned judge on the last Friday falling within the 30-day period starting

from the first appearance of a defendant. If use of the court’s chambers is

necessary, counsel should email chambers (axon_chambers@alnd.uscourts.gov) at

least seven days before the required meeting to advise the court. If a party is

proceeding without counsel, the obligation to email chambers rests upon counsel

for the opposing party. All email communication should copy opposing counsel, or

if a party is unrepresented, the unrepresented party.

      A.      Form of Report

      The court expects the parties to jointly file a report of the parties’ planning

meeting, in the general format of Exhibit A to this order, with the Clerk of Court

within fourteen days after the meeting. The report should contain a synopsis of the

case advising the court of the general claims and defenses of the parties. Should the

parties disagree about an item in the report, the positions of the parties as to that

item should be clearly set forth in separate paragraphs.

      When preparing the report, be aware that the case should be ready for trial

within eighteen months from the date of service of the complaint. In cases where

the parties request deadlines that extend beyond eighteen months, the parties must




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include a summary of the factors they believe justify the court’s departure from its

customary scheduling.

       Upon receipt of the report, the court will set a Federal Rule of Civil

Procedure 16(b) scheduling conference if requested by the parties.

       The report must include a discovery plan stating the parties’ views and

proposals on:

       1) any issues about disclosure, discovery, or preservation of electronically

stored information, including the form or forms in which it should be produced;

and,

       2) any issues about claims of privilege or of protection as trial-preparation

materials. If the parties agree on a procedure to assert these claims after production

(i.e., a “clawback” agreement), the report should include a statement about whether

they want the court’s scheduling order to adopt their agreement under Federal Rule

of Evidence 502.

       B.      Commencement of Discovery

       The parties are authorized to commence discovery pursuant to the terms of

Federal Rule of Civil Procedure 26. In cases removed from state court in which

any discovery requests were filed before such removal, those discovery requests

shall be deemed to have been filed on the date the parties file the report required by




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Federal Rule of Civil Procedure 26(f). The court instructs the parties to review

Local Rule 5.3 regarding the non-filing of discovery materials in civil cases.



                                DONE and ORDERED this August 31, 2023.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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                                 EXHIBIT A

                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                               ______ DIVISION

[Name(s) of plaintiff(s)]              )
                                       )
      Plaintiff(s),                    )
                                       )
v.                                     ) Civil Action No. ___
                                       )
[Name(s) of defendant(s)]              )
                                       )
      Defendant(s).                    )

                   REPORT OF THE PARTIES’ PLANNING MEETING
1.    The following persons participated in a Federal Rule of Civil Procedure
      26(f) conference on <Date> by <State the method of conferring>:

      <Name>, representing the <plaintiff(s)>
      <Name>, representing the <defendant(s)>

2.    Initial Disclosures. The parties [have completed] [will complete by
      <Date>] the initial disclosures required by Rule 26(a)(1).

3.    Discovery Plan. The parties propose this discovery plan:
      <Use separate paragraphs or subparagraphs if the parties disagree.>

      (a)      Discovery will be needed on these subjects: <Describe>.
      (b)      <Dates for commencing and completing discovery, including
               discovery to be commenced or completed before other
               discovery.>
      (c)      <Maximum number of interrogatories by each party to another party,
               along with the dates the answers are due.>
      (d)      <Maximum number of requests for admission, along with the dates
               responses are due.>
      (e)      <Maximum number of depositions by each party.>

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     (f)      <Limits on the length of depositions, in hours.>
     (g)      <Dates for exchanging reports of expert witnesses.>
     (h)      <Dates for supplementations under Rule 26(e).>

4.   Other Items:
     (a)      <A date if the parties ask to meet with the court before a scheduling
              order.>
     (b)      <Requested dates for pretrial conferences.>
     (c)      <Final dates for the plaintiff to amend pleadings or to join parties.>
     (d)      <Final dates for the defendant to amend pleadings or to join parties.>
     (e)      <Final dates to file dispositive motions.>
     (f)      <State the prospects for settlement.>
     (g)      <Identify any alternative dispute resolution procedure that may
              enhance settlement prospects.>
     (h)      <Final dates for submitting Rule 26(a)(3) witness lists, designations
              of witnesses whose testimony will be presented by deposition, and
              exhibit lists.>
     (i)      <Final dates to file objections under Rule 26(a)(3).>
     (j)      <Suggested trial date and estimate of trial length.>
     (k)      <Other matters.>

Date: <Date>                           <Signature of the attorney or unrepresented
                                       party>

                                       ____________________________________
                                       <Printed name>
                                       <Address>
                                       <E-mail address>
                                       <Telephone number>

Date: <Date>                           <Signature of the attorney or unrepresented
                                       party>

                                       ____________________________________
                                       <Printed name>
                                       <Address>
                                       <E-mail address>
                                       <Telephone number>

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